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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                    )
                                             )            Case No. 8:05CR282
                     Plaintiff,              )
                                             )
              vs.                            )
                                             )            SCHEDULING ORDER
WILLIAM SCHWENING and                        )
RUSSELL HOFFMANN,                            )
                                             )
                     Defendants.             )



       IT IS ORDERED that the February 2, 2006 hearing on defendant Hoffmann’s Motion
to Dismiss (#33) will include the Motion for Bill of Particulars.
       DATED this 13th day of January 2006.

                                             BY THE COURT:



                                             s/ F. A. Gossett
                                             United States Magistrate Judge
